         Case 3:20-cv-04238-WHO Document 8 Filed 07/17/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: July 17, 2020             Time: 17 minutes                 Judge: WILLIAM H. ORRICK
                                 3:10 p.m. to 3:27 p.m.
 Case No.: 20-cv-02345-WHO       Case Name: Reece v. Altria Group, Inc., et al.
                                 (and all related antitrust actions)


Attorneys for Plaintiffs:     Joseph Saveri, Christopher Lebsock, Todd Seaver, Solomon Cera,
                              Laurence D. King, and Fred Isquith,

Attorneys for Defendants: James Rosenthal and Sean Royall

 Deputy Clerk: Jean Davis                             Court Reporter: Debra Pas


                                       PROCEEDINGS

Case Management Conference conducted via videoconference.

Applications for appointment of lead counsel on behalf of the direct purchaser plaintiffs
(contested), the indirect business resellers, and indirect consumer purchasers (uncontested) were
discussed. The Court is inclined at this juncture to appoint one lead for direct and one lead for
indirect purchases and approve a leadership structure including up to four more individuals.
Counsel shall submit revised proposals before the next Case Management Conference and are
advised to put forward a more diverse group of individuals in their proposed leadership group.

Magistrate Judge Jacqueline Scott Corley is appointed to handle discovery in these related
antitrust cases.

Next Case Management Conference August 21, 2020 at 1:00 p.m.
